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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                 Case No.: 1:19-CR-00018-ABJ

UNITED STATES OF AMERICA,

               Plaintiff,

v.



ROGER J. STONE, JR.,

               Defendant.

______________________________

           ROGER J. STONE’S MOTION IN LIMINE TO ADMIT EVIDENCE

       Defendant, Roger J. Stone, files this Motion In Limine, pursuant to Fed. R. Crim. P.

12(b), and requests that the Court enter an Order allowing him to present evidence that

WikiLeaks did not receive the stolen Democratic National Committee (“DNC”), Democratic

Congressional Campaign Committee (“DCCC”), the Clinton Campaign or its manager's data

from the Russian state, including but not limited to witness testimony and trial exhibits.

                                  FACTUAL BACKGROUND

       On May 9, 2017, Defendant Roger J. Stone received a letter requesting that he “produce

certain documents and other materials to the Committee and participate in a voluntary,

transcribed interview at the Committee’s offices” in regards to its investigation into “Russian

active measures directed at the 2016 U.S. election.” See Letter from K. Michael Conaway,

Member of Congress and Adam Schiff, Ranking Member of House Permanent Select Committee

on Intelligence to Robert Buschel, Counsel for Roger Stone (May 9, 2017) (hereinafter “HPSCI

May 9 Letter” – Indictment ¶ 19).
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       Specifically, Stone was asked to voluntarily produce:

               Any documents, records, electronically stored information
               including e-mail, communication, recordings, data and tangible
               things (including but not limited to, graphs, charts, photographs,
               images and other documents) regardless of form, other than those
               widely available (e.g. newspaper articles) that reasonably could
               lead to the discovery of any facts within the investigations
               publicly-announced parameters.

HPSCI May 9, 2017 Letter (emphasis supplied). Stone agreed to testify at the hearing as well as

provide materials pertinent to the publicly-announced parameters of HPSCI’s investigation. The

publicly announced parameters, which sought answers to four overarching questions, were

attached to the May 9th Letter:

                  What Russian cyber activity and other active measures were
                   directed against the United States and its allies?

                  Did the Russian active measures include links between Russia
                   and individuals associated with political campaigns or any
                   other U.S. Persons?

                  What was the U.S. Government’s response to these Russian
                   active measures and what do we need to do to protect ourselves
                   and our allies in the future?

                  What possible leaks of classified information took place related
                   to the Intelligence Community Assessment of these matters?

See Indictment ¶18(a)-(d).

       The entire HPSCI investigation was premised on the assumption that the Russian state

transferred the stolen data to WikiLeaks. In turn, this assumption became the foundation of the

charges against the Defendant. Paragraphs 2, 3, and 12 of the Indictment assert that the Russian

state hacked and stole DNC data, that that data was then transferred to WikiLeaks, which

ultimately disseminated it. To ignore that underlying foundation makes this a very different case.

       The stated purpose of the HPSCI investigation was to investigate “Russian cyber


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activity” and “other active measures.” See Indictment ¶¶18-20. Evidence supporting Stone’s

response that he did not have the intent to lie to HPSCI, and that any of Stone’s responses

regarding WikiLeaks, Julian Assange, or his “intermediary” would be, among other grounds,

immaterial if WikiLeaks did not receive the relevant data as part of Russian cyber activity or

“active measures.” This is an integral part of Stone’s defense and he is entitled to present it to the

jury.

                                             ARGUMENT

I.      Defendant Roger Stone Has a Constitutional Right to Present Evidence That is
        Material and Favorable to His Defense.

        Those accused of committing crimes are given a number of Constitutional protections

that guarantee certain rights during the judicial process. “[T]he Constitution guarantees criminal

defendants ‘a meaningful opportunity to present a complete defense.’” Nevada v. Jackson, 569

U.S. 505, 509 (2013) (citing Crane v. Kentucky, 476 U.S. 683, 690 (1986) (additional citations

omitted)). This necessarily includes rights under the Fourth, Fifth, Sixth, and Fourteenth

Amendments.1 Perhaps the most important of these rights is the right of the accused to confront

his accusers and have a right to be heard.

               The necessary ingredients of the Fourteenth Amendment’s
               guarantee that no one shall be deprived of liberty without due
               process of the law include a right to be heard and to offer
               testimony:

               A person’s right to reasonable notice of a charge against him, and
               an opportunity to be heard in his defense – a right to his day in
               court – are basic in our system of jurisprudence; and these rights
               include, as a minimum, a right to examine the witnesses against



1
  See Rock v. Arkansas, 483 U.S. 44, 51 (1987) (“The right to testify on one’s own behalf at a
criminal trial has sources in several provisions of the Constitution. It is one of the rights that ‘are
essential to due process of law in a fair adversary process.’”) (quoting Farretta v. California, 422
U.S. 806, 819, n. 15 (1975)).
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               him, to offer testimony, and to be represented by counsel.’
               (Emphasis added.) In re Oliver, 333 U.S. 257, 273 (1948).

               The right to testify is also found in the Compulsory Process Clause
               of the Sixth Amendment, which grants a defendant to call
               ‘witnesses in his favor,’ a right that is guaranteed in the criminal
               courts of the States by the Fourteenth Amendment. Logically,
               included in the accused’s right to call witnesses who testimony is
               ‘material and favorable to his defense.’

Rock v. Arkansas, 483 U.S. 44, 52 (1987) (internal citations omitted) (emphasis added).

       “The right to offer the testimony of witnesses, and to compel their attendance, if

necessary, is in plain terms the right to present a defense, the right to present the defendant’s

version of the facts as well as the prosecutions to the jury so it may decide where the truth lies.

Just as an accused has the right to confront the prosecution’s witnesses for the purpose of

challenging their testimony, he has the right to present his own witnesses to establish a defense.

This right is a fundamental element of due process of law.” Washington v. Texas, 388 U.S. 14,

19 (1967). “[T]he suppression by the prosecution of evidence favorable to an accused upon

request violates due process where the evidence is material either to guilt or punishment,

irrespective of the good faith or bad faith of the prosecution.” Brady v. Maryland, 373 U.S. 83,

87 (1963). The opportunity for a defendant to present evidence relevant to his defense, “would

be an empty one if the State were permitted to exclude competent, reliable evidence…when such

evidence is central to the defendant’s claim of innocence. In the absence of any valid state

justification, exclusion of this kind of exculpatory evidence deprives a defendant of the basic

right to have the prosecutor’s case encounter and ‘survive the crucible of meaningful adversarial

testing.’” Crane v. Kentucky, 476 U.S. 683, 690-91 (1986) (quoting California v. Trombetta, 467

U.S. 479, 485 (1984)).




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       An indictment serves to guide the court, limit the prosecution, and advise the defendant

as to the specific charge.

               It has long been recognized that there is an important
               corollary purpose to be served by the requirement that
               an indictment set out ‘the specific offence, coming under the
               general description,’ with which the defendant is charged.
               This purpose, as defined in United States v. Cruikshank, 92 U.S.
               542, 558, 23 L.Ed. 588, is ‘to inform the court of the facts alleged,
               so that it may decide whether they are sufficient in law to support a
               conviction, if one should be had.' This criterion is of the greatest
               relevance here, in the light of the difficulties and uncertainties with
               which the federal trial and reviewing courts have had to deal in
               cases arising under 2 U.S.C. s 192, 2 U.S.C.A. s 192, to which
               reference has already been made. See, e.g., Watkins v. United
               States, 354 U.S. 178, 77 S.Ct. 1173, 1 L.Ed.2d 1273; Deutch v.
               United States, 367 U.S. 456, 81 S.Ct. 1587, 6 L.Ed.2d 963.

               Viewed in this context, the rule is designed not alone for the
               protection of the defendant, but for the benefit of the prosecution
               as well, by making it possible for courts called upon to pass on the
               validity of convictions under the statute to bring an enlightened
               judgment to that task. Cf. Watkins v. United States, supra.

Russell v. United States, 369 U.S. 749, 768–69 (1962).

       "The government is bound to prosecute the crimes charged in the indictment and no

others. United States v. Hitt, 107 F. Supp. 2d 29, 31–32 (D.D.C. 2000), aff'd, 249 F.3d 1010

(D.C. Cir. 2001) (citing Stirone v. United States, 361 U.S. 212, 215–16, 80 S. Ct. 270, 4 L.Ed.2d

252 (1960)) (“after an indictment has been returned its charges may not be broadened through

amendment except by the grand jury itself”) (citations omitted). "While it is common wisdom

that the prosecutor presents evidence to the grand jury and drafts proposed indictment language

for the grand jury's consideration, the power to indict is held by the grand jury, not by the

prosecutor, and it is the grand jurors' meaning and intent that controls. Id. As a consequence, the

government is obligated to prove the allegations of the indictment and the defendant is permitted

to defend against the facts alleged and the context of those allegations. “[A] court cannot permit

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a defendant to be tried on charges that are not made in the indictment against him.” Id. (citing

Stirone v. United States, 361 U.S. at 217)).

       The converse is also true. The government cannot limit or minimize the importance of the

language that the grand jury made clear: Russia's interference in the 2016 election is relevant to

materiality in the obstruction and perjury counts. Stone should be permitted to present evidence

that WikiLeaks did not receive the relevant data from the Russian state as the government has

contended and HPSCI has theorized. Said another way, if the government must prove Russian

interference by means of the Russian state delivering relevant data to WikiLeaks, then Stone has

the right to disprove that theory. See Indictment ¶¶ 2-3.

       In sum, Stone has the right to challenge the context of the Indictment. The Indictment

provides the context that the Russian state transferred the relevant data to WikiLeaks. Id. The

grand jury alleged the facts. The government has to prove those facts in order to support the

allegations of criminal intent and materiality of allegations. The government cannot use their

Russian state allegations as both a sword and a shield.

II.    Evidence that WikiLeaks Did Not Receive Stolen Data from Russian State Is
       Relevant and Should Be Admissible at Trial.

       It is axiomatic that a criminal defendant be allowed to present a defense to the charges

leveled against him.2 In this case Stone must be permitted to present evidence that WikiLeaks

never received stolen data from the Russian state.

       The government opined it does not have to prove that the Russian state was behind the

DNC, DCCC, Clinton Campaign or Podesta email hacks. But his position is fundamentally

flawed. The allegations against Stone are focused on his actions vis a vis          the HPSCI’s

2
  Katrice Bridges Copeland, The Forgotten Constitutional Right to Present a Defense and Its
Impact on the Acceptance of Responsibility-Entrapment Debate, 103 Mich. L. Rev. 367, 384-6
(2004).

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investigation into Russian meddling in the 2016 Presidential election – which undeniably raises

the issue of materiality vis a vis the very same congressional investigation into Russian

interference in the 2016 Presidential election.

       A. The Federal Rules of Evidence Permit Admission of Such Evidence.

       The Federal Rules of Evidence govern what kind of evidence may be legally presented at

trial. Of particular importance is the balancing test for determining whether or not evidence is

relevant. “Evidence is relevant if: (a) it has any tendency to make a fact more or less probable

than it would be without the evidence and (b) the fact is of consequence in determining the

action.” Fed. R. Evid. 401. According to Rule 402, “[r]elevant evidence is admissible unless” it

is prohibited by “the United States Constitution,” “a federal statute,” the Federal Rules of

Evidence, or “other rules prescribed by the Supreme Court.” Fed. R. Evid. 402. Relevant

evidence is inadmissible only when:

               [I]ts probative value is substantially outweighed by a danger of one
               or more of the following: unfair prejudice, confusing the issue,
               misleading the jury, undue delay, wasting time, or needlessly
               presenting cumulative evidence.

Fed. R. Evid. 403.

       Here, a presentation demonstrating that the government lacks evidence confirming that

Russia gave stolen data to WikiLeaks is probative of the fact that Stone’s alleged statements fail

to meet the element of materiality in the relevant portions of the obstruction count and perjury

counts. Stone's defense will not showcase a political view. Stone will present witnesses who can

testify and demonstrate to the jury that WikiLeaks did not receive the relevant stolen data from

the Russian state. If a jury were to conclude that was the case, then the same jury could conclude

that Stone's answers to the stated questions do not meet the element of materiality of the perjury

statute under 18 U.S.C. § 1001.

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       B. This Evidence is Necessary to Establish That Defendant Stone’s Statements at
          the September 26, 2017 HPSCI Hearing Were Not Material.

       There are “limitations upon the investigative power of the legislature which must be

considered in any determination of materiality. The investigation must be to aid in legislation.

‘Similarly, the power to investigate must not be confused with any of the powers of law

enforcement; those powers are assigned under our Constitution to the Executive and the

Judiciary.’” United States v. Cross, 170 F.Supp. 303, 306, (D.D.C. 1959) (citing Quinn v. United

States, 349 U.S. 155, 161 (1955) and United States v. Icardi, 140 F.Supp. 383, 388-89 (D.D.C.

1956) (internal citation omitted)). “It has been recognized that a legislative committee, although

duly authorized to investigate adequately defined subjects in a field where it may legislate, has

no power to compel the testimony of a witness for other than a bona fide legislative purpose,

even though the testimony be relevant to the subject matter of the authorized investigation.”

Cross, 170 F.Supp. at 306.

               Although the motives of a congressional committee are irrelevant
               when it interrogates a witness on matters pertaining to an
               investigation within the scope of its authority, the answers
               responsive to questions which are not asked for the purpose of
               eliciting facts in aid of legislation, even though pertinent, are not
               "material" to the authorized investigation; and when a duly
               constituted investigative committee questions a witness solely for a
               purpose other than to elicit facts in aid of legislation, that
               committee steps outside its authority and no longer acts as a
               competent tribunal.

               A legitimate legislative purpose will be presumed when the general
               subject of investigation is one concerning which Congress can
               legislate and when the information sought might aid the
               congressional consideration; but any presumption in a criminal
               case may be controverted by adequate evidence to the contrary.

Id. (emphasis added).




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       Furthermore, the Cross Court stated that it “holds that a perjury indictment may not be

found on false testimony in response to questions which are not asked for the purpose of eliciting

facts material to the committee’s investigation, that is, facts sought in aid of the legislative

purpose.” Id. at 310. While Cross deals with perjury and not “false statements,” the crimes are

similar and can be compared.3 “If there is probative evidence to the contrary, mere presumption

or possibility of materiality will not suffice in a criminal prosecution where materiality is an

essential element of the offense charged.” Id.

        “'Material' when used in respect to evidence is often confused with ‘relevant’, but the

two terms have wholly different meanings. To be ‘relevant’ means to relate to the issue. To be

‘material’ means to have probative weight, i.e., reasonably likely to influence the tribunal in

making a determination required to be made. A statement may be relevant but not material.”

Weinstock v. U.S., 231 F.2d 699, 701 (D.C. 1956). “In United States v. Slutzky, 79 F.2d 504, 506

(3d Cir. 1935) the court said that ‘materiality refers to testimony that will legally evidence the

propositions to be proved.’” Fraser v. United States, 145 F.2d 145, 149 (6th Cir. 1944); see also

Goins v. United States, 99 F.2d 147, 149 (4th Cir. 1948); Ulmer v. United States, 219 F. 641 (6th

Cir. 1915).

       The Court must look to the stated purpose of the investigation. In this case HPSCI stated

its purpose – Russian interference in the presidential election. The materiality requirement

implicit in Section 1001 excludes matters unrelated to the subject of the agency's or department's

responsibility—"for example, misrepresenting the occupation of a corporate director where that




3
 Both 18 U.S.C §§ 1001 and 1621 require that “willfulness or knowledge, actual falsity and
materiality be proved.” P.J. Meitl, The Perjury Paradox: The Amazing Under-Enforcement of the
Laws Regarding Lying to Congress, 25 Quinnipiac L. Rev. 547, 570 (2007).
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is irrelevant to the determination at hand." United States v. Hansen, 772 F.2d. 940, 950 (D.C.

Cir. 1985) (citing United States v. Talkington, 589 F.2d 415, 417 (9th Cir.1978)).

       None of the allegedly false statements made by Stone were material to the publicly stated

parameters of HPSCI. Consistent with Stone’s state of mind at the time the statements, the

Mueller Report concurred unequivocally that there was no coordination between any American

and Russia’s purported interference in the 2016 Presidential Election.4 Stone believed that it did

not occur, he has evidence that it did not5, and the Special Counsel's Office concluded it could

not prove that the Russian state gave WikiLeaks the relevant data.

       Paragraph 2 of the Indictment suggests that the DNC, through CrowdStrike, announced

that it had been hacked by “Russian government actors.” In paragraph 3 of the Indictment,

Organization 1 (WikiLeaks), released tens of thousands of documents stolen from the DNC.

These allegations together imply one caused the other – Russian government actors hacked and

stole the relevant data and WikiLeaks received that data from the Russian government actors.

The Indictment alleges that Stone spoke to “senior Trump Campaign” officials and an official

was meant to speak to Stone about WikiLeaks. See Indictment ¶¶ 5, 12. To be material or

relevant to the investigation about Russian interference, WikiLeaks’ receipt of data must have

come from the Russian state. Otherwise, the logic of the Indictment is a non sequitur. This is the

Defense’s argument. His testimony to HPSCI had a false underlying assumption – that the

Russians did deliver the relevant data to WikiLeaks. Whether Stone’s responses to HPSCI

       4
         Robert S. Mueller, Report On The Investigation Into Russian Interference In The 2016
Presidential Election, 1-2 (2019)(“Although the investigation established that the Russian
government perceived it would benefit from a Trump presidency and worked to secure that
outcome, and that the Campaign expected it would benefit electorally from information stolen
and released through Russian efforts, the investigation did not establish that members of the
Trump Campaign conspired or coordinated with the Russian government in its election
interference activities.” ) (emphasis added).
5
        See Declarations, Motion to Suppress (Dkt. ##100-1, 100-3).
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regarding documents provided or answers given about who he communicated with, the challenge

that WikiLeaks did not receive the data from the Russian state must be allowed.

       Stone should be permitted to present evidence that he did not knowingly and willfully

make statements that were materially false in regards to HPSCI’s investigation. There are public

statements in which Stone clearly makes his position clear as to his earnest belief that Russia was

not involved in the hacking of the DCCC or DNC or Podesta emails. Perhaps most importantly is

the fact that WikiLeaks is not the same as Russia – they are two completely separate entities: one

is an international non-profit organization and the other is a hostile foreign nation – nor is

WikiLeaks a Russian agent, nor has it been so in the past.

                                            CONCLUSION

       The Defendant respectfully requests the Court enter an Order allowing him to present

evidence that WikiLeaks did not receive stolen “DNC,” “DCCC," Podesta, and Clinton

Campaign data from the Russian state.




                                                     Respectfully submitted,
                                                     By: /s/_______________

                                                 BRUCE S. ROGOW
L. PETER FARKAS                                  FL Bar No.: 067999
HALLORAN FARKAS + KITTILA, LLP                   TARA A. CAMPION
DDC Bar No.: 99673                               FL Bar: 90944
1101 30th Street, NW                             BRUCE S. ROGOW, P.A.
Suite 500                                        100 N.E. Third Avenue, Ste. 1000
Washington, DC 20007                             Fort Lauderdale, FL 33301
Telephone: (202) 559-1700                        Telephone: (954) 767-8909
Fax: (302) 257-2019                              Fax: (954) 764-1530
pf@hfk.law                                       brogow@rogowlaw.com
                                                 tcampion@rogowlaw.com
                                                 Admitted pro hac vice




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ROBERT C. BUSCHEL                               GRANT J. SMITH
BUSCHEL GIBBONS, P.A.                           STRATEGYSMITH, PA
D.D.C. Bar No. FL0039                           D.D.C. Bar No.: FL0036
One Financial Plaza, Suite 1300                 FL Bar No.: 935212
100 S.E. Third Avenue                           401 East Las Olas Boulevard
Fort Lauderdale, FL 33394                       Suite 130-120
Telephone: (954) 530-5301                       Fort Lauderdale, FL 33301
Fax: (954) 320-6932                             Telephone: (954) 328-9064
Buschel@BGlaw-pa.com                            gsmith@strategysmith.com


CHANDLER P. ROUTMAN
D.D.C. Bar No. 1618092
501 East Las Olas Blvd., Suite 331
Fort Lauderdale, FL 33301
Tele: (954) 235-8259
routmanc@gmail.com




                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 26, 2019, I electronically filed the foregoing with the

Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day on all

counsel of record or pro se parties, via transmission of Notices of Electronic Filing generated by

CM/ECF.


                                              ___/s/ Chandler Routman _______________
                                                     Chandler P. Routman

    United States Attorney’s Office for the
            District of Columbia

Jessie K. Liu
United States Attorney
Jonathan Kravis
Michael J. Marando
Assistant United States Attorneys
Adam C. Jed

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Aaron S.J. Zelinsky
Special Assistant United States Attorneys
555 Fourth Street, NW
Washington, DC 20530
Telephone: (202) 252-6886
Fax: (202) 651-3393




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